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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                                CASE NO. 19-53270-SMS
JASON WARD FREEMAN,                                   CHAPTER 7
         Debtor.
______________________________________/
   WITHDRAWAL OF TRUSTEE’S REPORT OF NOTICE OF NO DISTRIBUTION

         Trustee hereby withdraws the Report of No Distribution filed in this case on May 25, 2019.

         This 26th day of May, 2019.

                                                      s/ Martha A. Miller

                                                      Martha A. Miller
                                                      Trustee
                                                      Georgia Bar No. 507950

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